
SHIRLEY S. ABRAHAMSON, J.
¶ 27. (dissenting). I write in dissent in several attorney discipline cases because I have concerns about the discipline imposed.
*647¶ 28. In the instant case, upon stipulation admitting the factual allegations, the court orders a four-month suspension of Attorney Krogman's license and conditions upon reinstatement. The complaint alleged 22 counts of professional misconduct involving four clients, misconduct relating to license suspension, and misconduct relating to trust accounts. The four-month suspension seems too light.
¶ 29. I write in dissent because I also have difficulty reconciling the significantly different levels of discipline imposed in the following four cases.
• OLR v. Crandall, 2015 WI 111, 365 Wis. 2d 682, 872 N.W.2d 649: Attorney Crandall has been disciplined four times previously: a three-month suspension, a public reprimand, a 30-day suspension, and a five-month suspension. This court now imposes another public reprimand in his fifth brush with the OLR. The sanction is too light. The principle of progressive discipline should have been applied. It was not.
• OLR v. Boyle, 2015 WI 110, 365 Wis. 2d 649, 872 N.W.2d 637: Boyle committed six offenses, including two trust account violations. The court imposes a 60-day suspension plus conditions. Boyle had received three private reprimands between 2002 and 2012. How can this level of discipline be justified in light of OLR v. Crandall and OLR v. Sayaovong (see below)?
• OLR v. Aleman, 2015 WI 112, 365 Wis. 2d 676, 872 N.W.2d 655: Illinois imposed a two-year suspension for two counts of misconduct stemming from co-founding and working with a national debt settlement firm. Upon stipulation of the parties, this court orders reciprocal disci*648pline in Wisconsin. The two-year suspension seems too harsh compared to the discipline imposed in other cases.
• OLR v. Sayaovong, 2015 WI 100, 365 Wis. 2d 200, 871 N.W.2d 271: This per curiam was released November 18, 2015, imposing suspension for a period of six months. Attorney Sayaovong defaulted in the discipline case. The complaint alleged six counts of misconduct, four counts involving two clients and two counts involving another client. In 2014 Attorney Sayaovong was publicly reprimanded for misconduct in two separate client matters. See OLR v. Sayaovong, 2014 WI 94, 357 Wis. 2d 312, 850 N.W.2d 940. The discipline does not seem consistent with the discipline imposed in other cases.
¶ 30. For the reasons set forth, I write about each of these cases.
¶ 31. I am authorized to state that Justice ANN WALSH BRADLEY joins this opinion.
